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            IN THEU NITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF GEORG IA
                             ATLANTA DIVISIO N



SHAMEEKA HILL,                            *

                                          *


              Plaintiff,                  *

                                          *


      v.                                  *
                                                   1 : 14-CV-04047-ELR
                                          *


STRATMARFINANCIAL RETAIL                  *


COVERAGE LLC, d/b/a STRATMAR              *


RETAIL SERVICES,                          *

                                          *


              Defendant.                  *

                                          *




                                    O R DER



      This action came before the Court on the Parties' Joint Motion for an Order


Approving Settlement and Dismissing the Action with Prejudice. (Doc. No. 80.)


Therein, the parties properly sought Final Approval of the terms of their Settlement.


See Lynn'sFood Stores, Inc. v. United States, 679F.2d 1350, 1353 (11th Cir. 1982)


("When employees bring a private action for back wages under the FLSA, and


present to the district court a proposed settlement, the district court may enter a


stipulated judgment after scrutinizing the settlement for fairness.") (citations


omitted).
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        Having reviewed the Joint Motion, the record, and the details of the


settlement, the Court concludes that the terms of the settlement          ( 1)   are fair to the


named Plaintiffs and Opt-in Plaintiffs (collectively "Plaintiffs"); (2) reflect a


reasonable compromise over the issues that are actually in dispute in this case; and


(3)   demonstrate a good-faith intention by the Parties that the Plaintiffs' claims be


fully and finally resolved.


        Furthermore, the settlement ( 1) was reached in an adversarial context as the


result of arms-length negotiations between the parties;              (2) arrived at a fair


disposition of the claims;         (3)   arrived at a fair and reasonable confidentiality


agreement; and (4) arrived at a fair and reasonable settlement of the attorneys' fees


and costs of litigation. See generally, Lynn's Food Stores, 679 F.2d at          1353.

        Accordingly, the Court GRANTS the Parties' Joint Motion for an Order


Approving Settlement and Dismissing the Action with Prejudice (Doc. No.                  80)   and


APPROVES the Settlement as a final, fair, adequate, and reasonable resolution of


this Action.


        The Parties further request that the Court seal the Settlement.            After an in


camera    review, for good cause shown, the Court grants the Parties' request and


DIRECTS the Clerk to SEAL the Settlement, attached as Exhibit A. 1




        Nothing contained herein shall be construed as a policy approving sealing settlement
agreements in Fair Labor Standards Act cases. Rather, the Court will continue to assess these
matters on a case-by-case basis.

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    IT IS FURTHER ORDERED that this matter be DISMISSED WITH


PREJUDICE.


    SO ORDERED, this   l..8_f!:ay   of August, 2016.




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                                          Eleanor L. Ross
                                          United States District Judge
                                          Northern District of Georgia




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